                      Case 2:08-cr-00064-JCM-GWF Document 816 Filed 11/06/20 Page 1 of 2



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                 4                                 UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                     ***
                 7     UNITED STATES OF AMERICA,                               Case No. 2:08-CR-64 JCM (GWF)
                 8                                             Plaintiff(s),                     ORDER
                 9              v.
               10      STEVEN GRIMM, et al.,
               11                                           Defendant(s).
               12
               13             Presently before the court is the matter of US v. Grimm, case number 2:08-cr-00064-JCM-
               14      GWF-1.
               15             On June 5, 2020, defendant Steven Grimm moved for compassionate release. (ECF Nos.
               16      789, 790). This court ordered an appropriate supplement to defendant’s motion from the FPD,
               17      (ECF No. 790); however, the FPD identified a prohibitive conflict warranting the appointment of
               18      CJA counsel. (ECF Nos. 791, 793). CJA counsels were appointed for defendant on multiple
               19      issues, but none have taken action on this motion for compassionate release. (ECF Nos. 800, 802).
               20      Defendant has filed a letter to this court indicating confusion at his counsel’s lack of action. (ECF
               21      No. 815).
               22             This court orders defendant’s appropriate counsel to supplement defendant’s pro se motion
               23      for compassionate release, (ECF No. 789), within 7 days of this order. The government shall
               24      respond within 7 days of the filing of defendant’s supplement, and defendant’s reply will be due
               25      within 3 days thereafter.
               26      ...
               27      ...
               28      ...

James C. Mahan
U.S. District Judge
                      Case 2:08-cr-00064-JCM-GWF Document 816 Filed 11/06/20 Page 2 of 2



                1            Accordingly,
                2            IT IS SO ORDERED.
                3            DATED November 6, 2020.
                4                                        __________________________________________
                                                         UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                        -2-
